      Case 3:14-cv-04735-VC Document 43-1 Filed 05/03/16 Page 1 of 21


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 6   Attorneys for Plaintiffs JOHN HUEBNER and IRMIN
     LANGTON, on behalf of themselves and others similarly
 7   situated

 8
                                 UNITED STATES DISTRICT COURT
 9
10                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

11
12   JOHN HUEBNER and IRMIN LANGTON,                 Case No. 3:14-cv-04735-VC
     on behalf of themselves and others similarly
13   situated,                                       [Assigned to the Honorable Vince Chhabria]
14                         Plaintiffs,
                                                     DECLARATION OF JUSTIN
15                 v.                                KACHADOORIAN IN SUPPORT OF
                                                     PLAINTIFFS’ MOTION FOR AN ORDER
16   RADARIS, LLC, a Massachusetts limited           APPROVING THE CLASS NOTICE PLAN
     liability company; RADARIS AMERICA,
17   INC., a Delaware corporation; and EDGAR
     LOPIN, an individual,
18
                           Defendants.
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                                                                           Case No. 3:14-cv-04735-VC
                                                    Declaration of Justin Kachadoorian Re: Notice Plan
       Case 3:14-cv-04735-VC Document 43-1 Filed 05/03/16 Page 2 of 21


 1                                 Declaration of Justin Kachadoorian

 2          I, Justin Kachadoorian, declare:

 3          1.      I am a competent adult, over the age of eighteen, and one of the attorneys of record

 4 for plaintiffs John Huebner and Irmin Langton (“Plaintiffs”) in the above-captioned action. The
 5 following is based upon my personal knowledge, and if called as a witness I could and would
 6 competently testify thereto.
 7          2.      Counsel will create a website dedicated to the certification of the Class. The

 8 proposed Class Notice, which is attached hereto as Exhibit A, will be the homepage of the website,
 9 which will appear with appropriate colors and borders to attract and retain Class Member attention.
10 Plaintiffs’ Internet-marketing consultant will acquire an appropriate URL for the website using some
11 combination of the words “Radaris” and “class action.” Counsel will file a Notice of Publication
12 of Class Notice informing the Court of the URL of the website upon implementation.
13          3.      The homepage, and each webpage hosted by the site, will include a menu listing the

14 following categories:
15              Dates and Deadlines

16              Court Documents

17              Frequently Asked Questions

18              Contact

19 Each of these categories will be hyperlinked to pages with corresponding information. The “Dates
20 and Deadlines” will include the opt-out date. The “Court Documents” page will post the Complaint
21 and Class Certification Order. The “Frequently Asked Questions” page will include information
22 from the homepage class notice with questions presented in a hyperlinked format. (See Exh. B
23 hereto.) And the “Contact” page will include Class Counsel’s contact information.
24          4.      Class Members will be given sixty (60) days from the publication of the Notice to

25 opt out, which they may do online by accessing a form hyperlinked to the Notice or by mailing their
26 opt-outs to Class Counsel by the specified date. The online form will include fields within which
27 Class Members must enter their name, address, and telephone number, and certify by means of a
28 check-box that they wish to opt out of the Class.
                                                       1
                                                                           Case No. 3:14-cv-04735-VC
                                                    Declaration of Justin Kachadoorian Re: Notice Plan
       Case 3:14-cv-04735-VC Document 43-1 Filed 05/03/16 Page 3 of 21


 1          5.        I have retained an Internet-marketing consultant, Den Bradshaw, to create a website

 2 dedicated to providing Class Members with notice of certification. The objective of this notice plan
 3 is to achieve placement of the class-notice website on the first page of results returned from a Google
 4 search of “Radaris.” A true and correct copy of Mr. Bradshaw’s website proposal is attached hereto
 5 as Exhibit C. (Note: Mr. Bradshaw’s proposal incorrectly refers to the website as an opt-in/opt-out
 6 website. In fact, the website will only process opt-outs. Class Members wishing to remain in the
 7 Class do not need to opt in or take any action, as the Notice correctly states.)           This will be

 8 accomplished through an ongoing Google Adwords campaign for the duration of the notice period
 9 (i.e., 60 days).
10          6.        Plaintiffs’ counsel will also include a text box at the top of their existing website

11 (www.radarisclassactionlawsuit.com) informing visitors that a class has been certified and
12 embedding a hyperlink to the class-notice website. Further alteration of this existing website is not
13 advisable because the longevity of the website has resulted in high placement in search results on
14 Google using search terms like “radaris” and “lawsuit” or “radaris” and “class action.” Indeed the
15 website appears as the first hit in the search results on Google when using these search terms.
16          I declare under penalty of perjury under the laws of the United States and the State of

17 California that the foregoing is true and correct.
18          Executed May 3, 2016.

19
                                                                           /s/ Justin Kachadoorian _____
20                                                                         Justin Kachadoorian
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                                                                             Case No. 3:14-cv-04735-VC
                                                      Declaration of Justin Kachadoorian Re: Notice Plan
Case 3:14-cv-04735-VC Document 43-1 Filed 05/03/16 Page 4 of 21




                Exhibit A
                Case 3:14-cv-04735-VC Document 43-1 Filed 05/03/16 Page 5 of 21
         UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA

                                NOTICE OF CLASS CERTIFICATION
    If Your Name, Photograph, or Personal Information Appeared on Radaris.com at Any Time from
              October 24, 2010, to the Present, You May Be a Member of a Certified Class.

           A court authorized this Notice. It is not a solicitation from a lawyer. You are not being sued.
   A class action is pending in the United States District Court for the Northern District of California (“the
    Court”) against Radaris, LLC, Radaris America, Inc., and Edgar Lopin (collectively, “Radaris”). The lawsuit
    alleges that Radaris violates state and federal laws regulating “consumer reports” and “investigative consumer
    reports.” These laws affect how certain business collect and disseminate your information, and impose
    obligations on correcting and removing inaccurate and old information. The lawsuit also alleges that Radaris
    violated California law by using consumers’ names, photographs, or likenesses without their consent.

   The Court decided that this lawsuit should proceed as a class action on behalf of a “Class,” a group of people
    that could include you. The Class consists of all persons in the United States who have had information
    relating to their credit worthiness, credit standing, credit capacity, character, general reputation, personal
    characteristics, or mode of living compiled and displayed by Radaris at any time from October 24, 2010, to
    the present.

   The Court has also certified a subclass consisting of all California residents whose names, photographs, or
    likenesses, or the names, photographs, or likenesses of their deceased personalities, Radaris has used on or in
    products, merchandise, or goods, or for purposes of advertising or selling, or soliciting purchases of, products,
    merchandise, goods, or services, without prior consent from the person or persons, at any time from October
    24, 2010, to the present.
                              YOUR RIGHTS AND OPTIONS IN THIS LAWSUIT
                         Stay in the lawsuit. Await the outcome. Share in possible benefits. Give up certain
                         rights.

       Do Nothing        By doing nothing, you are choosing to stay in the Class. You will be permitted to share
                         in any recovery that may result from this lawsuit, but you will give up your rights to sue
                         Radaris in a separate lawsuit for the claims made in this class action. In addition, you
                         will be bound by past and any future court rulings on the claims against Radaris.

                         Get out of this lawsuit. Get no benefits. Retain your rights.

                         If you opt out of the Class (meaning you say in writing that you do not want to be
         Ask to be       included in this lawsuit), you will not be entitled to any recovery that may result from
         Excluded        this lawsuit, but you will not be bound by any past or future rulings against Radaris.
                         You will be free to pursue your own claims against Radaris on your own or as part of a
                         different lawsuit.


                                   THESE RIGHTS AND OPTIONS –
                              AND THE DEADLINES TO EXERCISE THEM –
                                  ARE EXPLAINED IN THIS NOTICE
           Case 3:14-cv-04735-VC Document 43-1 Filed 05/03/16 Page 6 of 21


                       BASIC INFORMATION ABOUT THE LAWSUIT
1. What is the lawsuit about?

   This lawsuit is about whether Radaris violated federal law regulating the collection and
   dissemination of personal information, commonly called background reports, and imposing
   obligations on businesses to correct or remove inaccurate and old information. The law is called
   the Fair Credit Reporting Act (FCRA), 15 U.S.C. § 1681 et seq.

   This lawsuit also alleges claims on behalf of a subclass of California residents against Radaris for
   violation of California law that imposes additional requirements on companies that prepare
   background reports on consumers. These laws include the Investigative Consumer Reporting
   Agencies Act (ICRAA), Cal. Civ. Code § 1786 et seq., and the Consumer Credit Reporting
   Agencies Act (CCRAA), Cal. Civ. Code § 1785 et seq. On behalf of California residents the
   lawsuit also alleges statutory and common-law claims against Radaris for misappropriation of
   likeness arising from the use of consumers’ names, photographs, or likenesses, or the names,
   photographs, or likenesses of their deceased relatives, on its website to sell its background reports
   and sell advertising space to online marketers.

2. What is a class action and who is involved?

    In a class action lawsuit, one or more people called “Plaintiffs” (here, John Huebner and Irmin
    Langton) sue on behalf of themselves and other people who have similar claims, who are called
    the “Class” or “Class Members.” Radaris, LLC, Radaris America, Inc., and Edgar Lopin are
    called the “Defendants.” One court resolves the issues for all Class Members—except for those
    who choose to exclude themselves.

3. What has happened in the lawsuit?

    On October 24, 2014, the Plaintiffs filed this lawsuit on behalf of a proposed class against the
    Defendants for violation of federal laws regulating background reports, and a California subclass
    for violation of similar California laws as well as statutory and common law privacy claims. The
    Defendants have defaulted, which means they have not appeared to oppose the allegations. On
    February 11, 2016, Plaintiffs moved to certify this action as a class action. The Court granted in
    part and denied in part Plaintiff’s motion on April 12, 2016.

4. What is the current status of the lawsuit?

   Because the Defendants have defaulted, they have admitted the allegations of the lawsuit. The
   Plaintiffs will request the Court to enter a judgment against the Defendants.

5. What are the Plaintiffs asking for?

   The Plaintiffs are asking for money to compensate Class Members for damages they allege were
   caused by the Defendants’ conduct, and their reasonable attorneys’ fees and costs. The Fair Credit
   Reporting Act provides for mandatory damages of between $100 and $1,000 per violation, and
   California Civil Code § 3344 provides for $750 per violation. The Plaintiffs also request a Court
           Case 3:14-cv-04735-VC Document 43-1 Filed 05/03/16 Page 7 of 21

   order declaring that the Defendants’ conduct violated federal and state law and permanently
   prohibiting the Defendants and their agents and employees from continuing the conduct.

6. Is there any money available now?

   No money or benefits are available now because the Court has not yet entered judgment against
   the Defendants. Because the Defendants have defaulted from the lawsuit, there is no guarantee
   that money or benefits ever will be obtained. If they are, you will receive a notice describing how
   to receive a share if available.

7. Could I obtain a greater recovery by suing Radaris myself?

   Plaintiff seeks statutory damages and injunctive relief (that is, an order from the Court prohibiting
   the Defendants’ conduct). Statutory damages are a sum of money that Congress or the California
   Legislature has determined may be recovered for violation of certain laws. The Fair Credit
   Reporting Act provides for statutory damages of between $100 and $1,000 per violation, and
   California Civil Code § 3344 provides for statutory damages of $750 per violation. However,
   you should know that these laws also allow for the recovery of actual damages. Actual damages
   are an amount of money that you have actually lost as a result of the Defendants’ violations.

   This lawsuit seeks only statutory damages. The Plaintiff do not seek to recover actual damages
   on behalf of themselves or any other Class Members. Depending on your circumstances and how
   the Defendants’ conduct has affected you, you may be entitled to greater damages than the
   Plaintiffs seek to recover in this action. You should carefully assess your actual damages and
   your ability to collect these damages when determining whether to opt out of the Class.

                 DETERMINING IF YOU ARE A MEMBER OF THE CLASS
8. How do I know if I am a Class Member?

   You are a Class Member if your personal information appeared on radaris.com at any time from
   October 24, 2010, to the present. You are a member of the California Subclass if you were a
   California resident during this time period and your personal information appeared on
   radaris.com.

   More specifically, the Court has certified the following Class and Subclass:

   FCRA Class: All persons in the United States who have had information relating to their credit
   worthiness, credit standing, credit capacity, character, general reputation, personal characteristics,
   or mode of living compiled and displayed by Radaris from October 24, 2010, to the present.

   California Subclass: All California residents whose names, photographs, or likenesses, or the
   names, photographs, or likenesses of their deceased personalities, Radaris has used on or in
   products, merchandise, or goods, or for purposes of advertising or selling, or soliciting purchases
   of, products, merchandise, goods, or services, without prior consent from the person or persons,
   from October 24, 2010, to the present.
           Case 3:14-cv-04735-VC Document 43-1 Filed 05/03/16 Page 8 of 21

9. Are there exceptions to being included in the Class?

   Yes, the Class excludes counsel representing the class and subclass, governmental entities, the
   Defendants, any entity in which the Defendants have a controlling interest, the Defendants’
   officers, directors, affiliates, legal representatives, employees, co-conspirators, successors,
   subsidiaries, and assigns, any judicial officer presiding over this matter, the members of their
   immediate families and judicial staff, and any individual whose interests are antagonistic to other
   putative class members.

10. Are you still not sure if you’re included?

   If you are still not sure whether you are included in the Class, you can get free help by calling or
   writing to the lawyers in this case at the phone number or address listed in response to question
   17.

                            YOUR OPTIONS AS A CLASS MEMBER
11. What are my options as a Class Member?

    You must decide whether to stay in the Class or opt out of it.

12. What happens if I choose to stay in the Class?

  If you stay in the Class, you will be permitted to share in a recovery, if any, that may occur in
  this lawsuit. But you give up any rights to sue the Defendants separately about the same legal
  claims in this lawsuit. You also will be legally bound by all of the orders the Court issues and
  judgments the Court makes in this class action, even if there is no recovery.

13. How do I stay in the Class?

   You do not have to do anything at this time to stay in the Class.

14. What happens if I opt out of the Class?

    If you opt out of the Class (by stating in writing that you do not want to be included in the Class),
    you will give up the right to participate in any recovery that may occur. But you will keep any
    rights you may currently have to sue the Defendants regarding the legal claims at issue in this
    lawsuit. You also will not be bound by the orders the Court issues and judgments the Court
    makes in this class action.

15. How do I opt out of the Class?

  If you do not want to remain a member of the Class, you must submit a Request for Exclusion no
  later than [60 days from the notice date]. You may submit this opt out online by clicking here
  [hyperlink] and filling out the online form. In the alternative, you may opt out by mailing a written
  request postmarked no later than [60 days from the notice date]. Your written request must include
  the following:
           Case 3:14-cv-04735-VC Document 43-1 Filed 05/03/16 Page 9 of 21

         Your name, address, and telephone number;
         A statement confirming that you want to opt out of the Class; and
         The case name and number: Huebner v. Radaris, LLC, et al., Case No. 3:14-cv-04735.

  Your Request for Exclusion must be sent to the following address:

                                   Huebner v. Radaris Class Action
                                         CounselOne, PC
                                    9301 Wilshire Blvd., Ste. 650
                                      Beverly Hills, CA 90210


16. What happens if I don’t do anything?

   By doing nothing, you are choosing to stay in the Class. You don’t have to do anything now if
   you want to stay in the Class. If you stay in the Class and the Plaintiffs obtain money or benefits,
   you will be notified about how to apply for a share. Regardless of whether the Plaintiffs are able
   to recover money from the Defendants, you will not be able to sue or continue to sue the
   Defendants as part of any other lawsuit about the same legal claims that are the subject of this
   lawsuit. You will also be legally bound by all of the orders the Court issues and judgments the
   Court makes in this lawsuit.

                            THE LAWYERS REPRESENTING YOU
17. As a Class Member, do I have a lawyer representing my interests in this Class Action?

    Yes. The Court has appointed lawyers to represent you and other Class Members. These lawyers
    are called Class Counsel. The following lawyers are representing the Class:

                                         Anthony J. Orshansky
                                      Alexandria R. Kachadoorian
                                          Justin Kachadoorian
                                            CounselOne, PC
                                      9301 Wilshire Blvd., Ste. 650
                                        Beverly Hills, CA 90210
                                          Tel. (310) 277-9945
                                       www.counselonegroup.com

18. How will the lawyers be compensated, and will the Plaintiffs receive compensation?

  If recovery is obtained for the Class, Class Counsel will request from the Court an award of
  attorneys’ fees and expenses. Class Counsel may also ask the Court to approve reasonable
  incentive awards for the Plaintiffs. If approved, these fees and expenses and incentive awards will
  either be paid from the recovery obtained for the Class or separately by the Defendants.
         Case 3:14-cv-04735-VC Document 43-1 Filed 05/03/16 Page 10 of 21

19. Should I get my own lawyer?

  You do not need to hire your own lawyer because Class Counsel is working for you. However,
  you may hire your own lawyer to represent you at your own expense. If you decide to retain your
  own attorney, you may enter an appearance through your attorney if you so desire.



                             GETTING MORE INFORMATION
20. Where do I get more information?

  This Notice contains a summary of relevant court papers. Complete copies of public pleadings,
  Court rulings and other filings are available for review and copying at the Clerk’s office. The
  address is Office of the Clerk, United States District Court, 450 Golden Gate Avenue, San
  Francisco, CA 94102-3489. Information is also available at www._____________.com. Please
  do not contact the Court. The Court cannot answer any questions or discuss the lawsuit.

   DATED:                                 BY ORDER OF THE UNITED STATES DISTRICT
                                          COURT NORTHERN DISTRICT OF CALIFORNIA
Case 3:14-cv-04735-VC Document 43-1 Filed 05/03/16 Page 11 of 21




                Exhibit B
    Case 3:14-cv-04735-VC Document 43-1 Filed 05/03/16 Page 12 of 21




Frequently Asked Questions:


   1. What is the purpose of the Notice?
   2. What is the lawsuit about?
   3. What has happened in the lawsuit?
   4. What are the Plaintiffs asking for?
   5. Is there any money available now?
   6. Could I obtain a greater recovery by suing Radaris myself?
   7. What is the current status of the lawsuit?
   8. How do I know if I am a Class Member?
   9. Are there exceptions to being included in the Class?
   10. What do I do if I am not sure that I am a Class Member?
   11. What are my options as a Class Member?
   12. What happens if I choose to stay in the Class?
   13. How do I stay in the Class?
   14. What happens if I opt out of the Class?
   15. How do I opt out of the Class?
   16. What happens if I don’t do anything?
   17. As a Class Member, do I have a lawyer representing my interests in this Class
       Action?
   18. How will the lawyers be compensated, and will the Plaintiffs receive
       compensation?
   19. Should I get my own lawyer?
   20. Where do I get more information?


   1. What is the purpose of the Notice?

      The Notice explains that the Court has allowed, or “certified,” a class action lawsuit
      that may affect you. You have legal rights and options that you may exercise.
 Case 3:14-cv-04735-VC Document 43-1 Filed 05/03/16 Page 13 of 21




   Top


2. What is the lawsuit about?

   This case is known as Huebner v. Radaris, LLC, et al., Case No. 3:14-cv-04735. This
   lawsuit is about whether Radaris violated federal law regulating the collection and
   dissemination of personal information, commonly called background reports, and
   imposing obligations on businesses to correct or remove inaccurate and old
   information. The law is called the Fair Credit Reporting Act (FCRA), 15 U.S.C. §
   1681 et seq.


   This lawsuit also alleges claims on behalf of a subclass of California residents against
   Radaris for violation of California law that imposes additional requirements on
   companies that prepare background reports on consumers. These laws include the
   Investigative Consumer Reporting Agencies Act (ICRAA), Cal. Civ. Code § 1786 et
   seq., and the Consumer Credit Reporting Agencies Act (CCRAA), Cal. Civ. Code §
   1785 et seq. On behalf of California residents the lawsuit also alleges statutory and
   common-law claims against Radaris for misappropriation of likeness arising from the
   use of consumers’ names, photographs, or likenesses, or the names, photographs, or
   likenesses of their deceased relatives, on its website to sell its background reports and
   sell advertising space to online marketers.


   Top


3. What has happened in the lawsuit?
   On October 24, 2014, the Plaintiffs filed this lawsuit on behalf of a proposed class
   against the Defendants for violation of federal laws regulating background reports, and
   a California subclass for violation of similar California laws as well as statutory and
   common law privacy claims. The Defendants have defaulted, which means they have
   not appeared to oppose the allegations. On February 11, 2016, Plaintiffs moved to
   certify this action as a class action. The Court granted in part and denied in part
   Plaintiff’s motion on April 12, 2016.
   Top


4. What are the Plaintiffs asking for?

   The Plaintiffs are asking for money to compensate Class Members for damages they
   allege were caused by the Defendants’ conduct, and their reasonable attorneys’ fees
 Case 3:14-cv-04735-VC Document 43-1 Filed 05/03/16 Page 14 of 21




   and costs. The Fair Credit Reporting Act provides for mandatory damages of between
   $100 and $1,000 per violation, and California Civil Code § 3344 provides for $750 per
   violation. The Plaintiffs also request a Court order declaring that the Defendants’
   conduct violated federal and state law and permanently prohibiting the Defendants and
   their agents and employees from continuing the conduct.

   Top


5. Is there any money available now?

   No money or benefits are available now because the Court has not yet entered
   judgment against the Defendants. Because the Defendants have defaulted from the
   lawsuit, there is no guarantee that money or benefits ever will be obtained. If they are,
   you will receive a notice describing how to receive a share if available.

   Top


6. Could I obtain a greater recovery by suing Radaris myself?
   Plaintiff seeks statutory damages and injunctive relief (that is, an order from the Court
   prohibiting the Defendants’ conduct). Statutory damages are a sum of money that
   Congress or the California Legislature has determined may be recovered for violation
   of certain laws. The Fair Credit Reporting Act provides for statutory damages of
   between $100 and $1,000 per violation, and California Civil Code § 3344 provides for
   statutory damages of $750 per violation. However, you should know that these laws
   also allow for the recovery of actual damages. Actual damages are an amount of
   money that you have actually lost as a result of the Defendants’ violations.
   This lawsuit seeks only statutory damages. The Plaintiff do not seek to recover actual
   damages on behalf of themselves or any other Class Members. Depending on your
   circumstances and how the Defendants’ conduct has affected you, you may be entitled
   to greater damages than the Plaintiffs seek to recover in this action. You should
   carefully assess your actual damages and your ability to collect these damages when
   determining whether to opt out of the Class.
   Top


7. What is the current status of the lawsuit?

   Because the Defendants have defaulted, they have admitted the allegations of the
   lawsuit. The Plaintiffs will request the Court to enter a judgment against the
   Defendants.
 Case 3:14-cv-04735-VC Document 43-1 Filed 05/03/16 Page 15 of 21




   Top


8. How do I know if I am a Class Member?

   You are a Class Member if your personal information appeared on radaris.com at any
   time from October 24, 2010, to the present. You are a member of the California
   Subclass if you were a California resident during this time period and your personal
   information appeared on radaris.com.
   More specifically, the Court has certified the following Class and Subclass:
   FCRA Class: All persons in the United States who have had information relating to
   their credit worthiness, credit standing, credit capacity, character, general reputation,
   personal characteristics, or mode of living compiled and displayed by Radaris from
   October 24, 2010, to the present.
   California Subclass: All California residents whose names, photographs, or
   likenesses, or the names, photographs, or likenesses of their deceased personalities,
   Radaris has used on or in products, merchandise, or goods, or for purposes of
   advertising or selling, or soliciting purchases of, products, merchandise, goods, or
   services, without prior consent from the person or persons, from October 24, 2010, to
   the present.

   Top


9. Are there exceptions to being included in the Class?

   Yes, the Class excludes counsel representing the class and subclass, governmental
   entities, the Defendants, any entity in which the Defendants have a controlling interest,
   the Defendants’ officers, directors, affiliates, legal representatives, employees, co-
   conspirators, successors, subsidiaries, and assigns, any judicial officer presiding over
   this matter, the members of their immediate families and judicial staff, and any
   individual whose interests are antagonistic to other putative class members.
   Top


10. What do I do if I am not sure that I am a Class Member?

   If you are still not sure whether you are included in the Class, you can get free help by
   calling or writing to the lawyers in this case at the phone number or address listed in
   response to question 17.
 Case 3:14-cv-04735-VC Document 43-1 Filed 05/03/16 Page 16 of 21




   Top


11. What are my options as a Class Member?

   You must decide whether to stay in the Class or opt out of it.

   Top


12. What happens if I choose to stay in the Class?

   If you stay in the Class, you will be permitted to share in a recovery, if any, that may
   occur in this lawsuit. But you give up any rights to sue the Defendants separately
   about the same legal claims in this lawsuit. You also will be legally bound by all of
   the orders the Court issues and judgments the Court makes in this class action, even if
   there is no recovery.

   Top


13. How do I stay in the Class?

   You do not have to do anything at this time to stay in the Class.

   Top


14. What happens if I opt out of the Class?

   If you opt out of the Class (by stating in writing that you do not want to be included in
   the Class), you will give up the right to participate in any recovery that may occur.
   But you will keep any rights you may currently have to sue the Defendants regarding
   the legal claims at issue in this lawsuit. You also will not be bound by the orders the
   Court issues and judgments the Court makes in this class action.

   Top


15. How do I opt out of the Class?

   If you do not want to remain a member of the Class, you must submit a Request for
   Exclusion no later than [60 days from the notice date]. You may submit this opt out
   online by clicking here [hyperlink] and filling out the online form. In the alternative,
 Case 3:14-cv-04735-VC Document 43-1 Filed 05/03/16 Page 17 of 21




   you may opt out by mailing a written request postmarked no later than [60 days from
   the notice date]. Your written request must include the following:
          Your name, address, and telephone number;
          A statement confirming that you want to opt out of the Class; and
          The case name and number: Huebner v. Radaris, LLC, et al., Case No. 3:14-
           cv-04735.
   Your Request for Exclusion must be sent to the following address:
                              Huebner v. Radaris Class Action
                                    CounselOne, PC
                               9301 Wilshire Blvd., Ste. 650
                                 Beverly Hills, CA 90210

   Top


16. What happens if I don’t do anything?

   By doing nothing, you are choosing to stay in the Class. You don’t have to do
   anything now if you want to stay in the Class. If you stay in the Class and the
   Plaintiffs obtain money or benefits, you will be notified about how to apply for a
   share. Regardless of whether the Plaintiffs are able to recover money from the
   Defendants, you will not be able to sue or continue to sue the Defendants as part of
   any other lawsuit about the same legal claims that are the subject of this lawsuit. You
   will also be legally bound by all of the orders the Court issues and judgments the
   Court makes in this lawsuit.

   Top


17. As a Class Member, do I have a lawyer representing my interests in this Class
    Action?
   Yes. The Court has appointed lawyers to represent you and other Class Members.
   These lawyers are called Class Counsel. The following lawyers are representing the
   Class:


                                   Anthony J. Orshansky
                                Alexandria R. Kachadoorian
                                    Justin Kachadoorian
                                      CounselOne, PC
                                9301 Wilshire Blvd., Ste. 650
                                  Beverly Hills, CA 90210
 Case 3:14-cv-04735-VC Document 43-1 Filed 05/03/16 Page 18 of 21




                                  Tel. (310) 277-9945
                                www.counselonegroup.com


   Top


18. How will the lawyers be compensated, and will the Plaintiffs receive
    compensation?

   If recovery is obtained for the Class, Class Counsel will request from the Court an
   award of attorneys’ fees and expenses. Class Counsel may also ask the Court to
   approve reasonable incentive awards for the Plaintiffs. If approved, these fees and
   expenses and incentive awards will either be paid from the recovery obtained for the
   Class or separately by the Defendants.

   Top


19. Should I get my own lawyer?

   You do not need to hire your own lawyer because Class Counsel is working for you.
   However, you may hire your own lawyer to represent you at your own expense. If you
   decide to retain your own attorney, you may enter an appearance through your
   attorney if you so desire.
   Top


20. Where do I get more information?

   The Notice contains a summary of relevant court papers. Complete copies of public
   pleadings, Court rulings and other filings are available for review and copying at the
   Clerk’s office. The address is Office of the Clerk, United States District Court, 450
   Golden Gate Avenue, San Francisco, CA 94102-3489. Information is also available at
   www._____________.com. Please do not contact the Court. The Court cannot
   answer any questions or discuss the lawsuit.
   Top
Case 3:14-cv-04735-VC Document 43-1 Filed 05/03/16 Page 19 of 21




                Exhibit C
          Case 3:14-cv-04735-VC Document 43-1 Filed 05/03/16 Page 20 of 21




Site Proposal – Radaris Class Opt-In/Opt-Out Website
Development of site design, architecture, new hosting infrastructure, system optimization for
speed, Search Engine Marketing (SEM), integration of site content and sections, Opt-In &
Opt-Out System, and management.

Phase I - Included:
   Deploy Site, Optimize Server, System, Code and Images, Integrate additional content.

   Production Requirements
      • Deploy Site on New Server, Server Configuration and Speed Optimization
      • Theme code optimization of CSS, JS, PNG, JPEG, compression, deployment of
        CDN (Content Delivery Network) for security and streaming load balancing
      • Recompress and scale images for 4-5 size variations and set up scaled serving
        system to feed different sized images based on browser request (speeds site)
      • Deployment of site caching system, tweaking and optimization of system.
      • Installation of analytics and webmaster tools including page traffic analysis reports
      • Deployment of new optimized responsive site theme for use on mobile devices.
      • Integration of additional images, content, FAQ, links to external references, etc. – to
        be provided by client.

          Phase 1 Estimated Cost - $1,000

Phase II - Included:
   SEO keyword research and integration of SEM system – Google Adwords Campaign.

   Production Requirements
      • Keyword research and integration of SEO system for page titling and descriptions.
      • Development of SEM campaign, keyword and phrase research and integration,
        budgeting and market targeting & setup. Goal to place site on first page of results
        for “Radaris” (google)
      • Development of Opt-In / Opt-Out system including:
            o Subscriber Content acquisition forms
            o Drip campaign system setup and initial deployment with client provided
               newsletters and emails to update class of progress
            o Metrics & reporting of new subscribers

          Phase 2 Estimated Cost - $750

Phase III - Included:
   Ongoing Google Adwords Campaign to achieve First Page placement for search term
   “Radaris.” Based on current budgeting for this term, it looks like we should be able to
          Case 3:14-cv-04735-VC Document 43-1 Filed 05/03/16 Page 21 of 21


   achieve Page 1 results for approximately $100/mo in spend. However, we must convince
   Google to allow us to use “Radaris” as it is a trademarked name. Negotiating the use of
   this will be billed at $75/hr, or can be taken on by the client.

          Phase 3 Estimated Cost - $400


Proposed Production Schedule - 8 Weeks of Development
Schedule based upon joint production schedule for all 3 Phases. All timeframes are highly
contingent upon timely feedback and approval of client as development progresses.

Proposed Budget
This budget is based upon the simultaneous and concurrent development all 6 sites, helping
to combine and reduce resource costs for programming, design, management and other labor
involved in site production.

Technical & Creative Site Development
Phase I Development - $1,000
Phase II Development - $750
Phase III Development - $400
Total Development - $2,150

Ongoing Expenses:
Hosting – $50/mo for hosting of website and server management throughout this process.

SEM Traffic Costs - Google
Search Engine Marketing cost of traffic – paid directly to google, Estimated at $100-200/mo
